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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02389-DDD-NRN

   ESTATE OF ELIJAH JAVON MCCLAIN, by and through its personal representatives
   Sheneen McClain and Lawayne Mosley;
   SHENEEN MCCLAIN, individually;
   LAWAYNE MOSLEY, individually,

   Plaintiffs,

   v.

   CITY OF AURORA, COLORADO, a municipality;

   Defendant.

                                       MINUTE ORDER

   Entered by Magistrate Judge N. Reid Neureiter

          It is hereby ORDERED that plaintiffs Estate of Elijah Javon McClain, Sheneen
   McClain, individually, and Lawayne Mosley’s Stipulated Motion for Release of Funds
   (Dkt. #136) is GRANTED.

          It is further ORDERED that the Registry of the Court shall issue payments
   forthwith by check or wire transfer, in the amounts of (1) $9,750,000.00, payable to the
   COLTAF trust account of Sheneen McClain’s counsel, CIANCIO CIANCIO BROWN,
   P.C., and (2) $5,250,000.00 payable to the COLTAF trust account of Mr. Mosley’s
   counsel, DILL DILL CARR STONBRAKER & HUTCHINGS, P.C.

   Date: March 23, 2022
